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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS



       2L, Inc.
                    Plaintiff
                                                     CIVIL ACTION
             V.
                                                     NO. 1:16-12020-WGY
 Harvey Tool Co., LLC
                   Defendant

                        SETTLEMENT ORDER OF DISMISSAL


  YOUNG, DJ


      The Court having been advised on October 30, 2017 that the above-entitled action

has been settled;

      IT IS ORDERED that this action is hereby dismissed without costs and without

prejudice to the right of any party, upon good cause shown, to reopen the action within

thirty(30) days if settlement is not consummated.


                                               By the Court,


  10/30/2017                                    /s/ Jennifer Gaudet
      Date                                     Deputy Clerk
